             Case 4:05-cr-40004-SMY                      Document 525 Filed 04/19/06                  Page 1 of 6           Page ID
                                                                  #1195
*A0   2458    (Rev. 06/05) Judgment in a Criminal Case
              Sheet 1




                       SOUTHERN                                   District of                                  ILLINOIS

          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                              v.
                  SEAN L. LOGSDON                                        Case Number:           4:&~40004-JLF-5

                                                                         USM Number:            06377-025
                                                                            Mark Hunter
                                                                         Defendant's Attorney
THE DEFENDANT:
dpleaded guilty to count(s)              1 of the Superseding Indictment.
   pleaded nolo contendere to count($
   which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense
                                   % .f : .   ...
                                                                                                            Offense Ended
                                                                                                                .    .
                                                                                                                                           Count
                                                    to                                                                      . .
   . ..                              ,


   .-.
                                                                                                                                  .,   '   .
                                                                                                                                                :'" 1 :.y"
                                                                                                                                               ;.,,
                                                                                                                                                      :.:2 :

       The defendant is sentenced as provided in pages 2 through               9         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                  is      are dismissed on the motion of the United States.

                                                                                                               r'
         It is ordered +t the defendant must not~f'ythe Un~tedStates attorney for thls distnct withln 30 da ,of any chan r e of name, res~den
or malllng adrlress untll all fincs, restltut~on,costs, and speclal aswssments ~niposedby thls judgment are fu ly p a d it.rdb
the dcfcndant must not~fythe court and Un~tedStatcs attorney of material changes in econom~cclrcumstanccs.
                                                                                                                           o ered to pay restltutlo




                                                                            J . Phil Gilbert                             District Judge
                                                                         Name of Judge                               Title of Judge
                Case 4:05-cr-40004-SMY                  Document 525 Filed 04/19/06                     Page 2 of 6        Page ID
                                                                 #1196
A 0 2458      (Rev. 06/05) Judgment in Criminal Case
              Sheet 2 -Imprisonment
                                                                                                        Judgment- Page   2of         9
 DEFENDANT: SEAN L. LOGSDON
 CASE NUMBER: 4:84CR40004-JLF-5
                oi-

                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of

  240 months on Count 1 of the Superseding Indictment.



      I$   The court makes the following recommendations to the Bureau of Priso~ls:

  That the defendant be placed in the Intensive Drug Treatment Program.



      I$   ?he defendant is remanded to the custody of the United States Marshal

           The defendant shall surrender to the United States Marshal for this district:

                at                                      a.m.         p.m.     on
                as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.

           I7 as notified by the Probation or Pretrial Services Office

                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                    , with a certified copy of t h ~judgment.
                                                                                        s



                                                                                                      UNITED STATES MARSHAL



                                                                                                   DEPUTY UNITED STATES MARSHAL
                Case 4:05-cr-40004-SMY                    Document 525 Filed 04/19/06                    Page 3 of 6         Page ID
                                                                   #1197
A 0 245B      (Rev. 06105) J u d m t in a Criminal Case
              sheet 3 -supervised Release
                                                                                                           Judgment-Page      3     of          9
DEFENDANT: SEAN L. LOGSDON
CASE NUMBER: 4:84CR40004-JLF-5
                              oJ'                         SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of:

  1 0 years on Count 1 of the Superseding Indictment.



      The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from th
 custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall suimit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafler, as detemuned by the court.
        The above drug testing conmtion is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a f u e a q ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 8( The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'odgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule ofl~aymentssheet of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional condition
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
   1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days o
           each month;
   3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or 0th
           acceptable reasons;
   6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7) the dcfcndant shall refrain from excessive use of alcohol and shall not purchase, posscss, use, distribute, or administer any
           conuollcd substance or any paraphernalia related tu an) controlled ~ubstanccs,except as prcscrihed by a physician;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons en aged in criin~nalact(\ ity and >hall not associate with any person convicted of
           felony, unless granted permission to do so by thc profanon ofticer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of an
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement office
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without th
           permission of the coult; and
  13)      as directcd hy the robatlon officer, the defendant shall notify third panles ofrisks that may be occasioned by ihe defendant's r'nmin
           record or personay history or characteristics and shall permlt the probation ofliucr to make such notlrications and to confirm th
           defendant s compliance with such notification requircment.
           Case 4:05-cr-40004-SMY                     Document 525 Filed 04/19/06          Page 4 of 6       Page ID
A 0 2458   (Rev. 06/05) Judgment in a Criminal Case            #1198
           Sheet 3C - Supervised Release


DEFENDANT: SEAN L. LOGSDON
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                                                                                                             -
                                                                                                             4      of      9

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                        03-
                                         SPECIAL CONDITIONS OF SUPERVISION
   The defendant shall submit to one drug urinalysis within 15 days after being placed on supervision and two periodic drug
 tests thereafter, not to exceed 52 tests in a one year period.

   The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 cornmencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 or ten
 percent of his net monthly income, whichever is greater.

   The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

   The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

   The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence and/or participation in a residential treatment facility. Any participation will require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance counseling and/or testing based on
 a w-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total costs of
 counseling.

   The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search
 conducted by the United States Officers at a reasonable time and in a reasonable manner, based upon reasonable
 suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search may be
 grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a search
 pursuant to this condition.
                 Case 4:05-cr-40004-SMY                  Document 525 Filed 04/19/06                         Page 5 of 6       Page ID
A 0 245B       (Rev.06105)Judgment in a Criminal Case             #1199
               Sheet 5 -drim~nal Monetary Penalties
                                                                                                                          5
DEFENDANT: SEAN L. LOGSDON
                                                                                                         Judgment-Page
                                                                                                                          - of                     9
CASE NUMBER: 4:   R40004-JLF-5
                              '??
                              Q                  CRIMINAL MONETARY PENALTIES

        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                          Assessment                                      -
                                                                          Fine                                   Restitution
 TOTALS               $ 100.00                                          % 200.00                               $ 0.00



        The determination of restitution is deferred until   -. An Amended Judgment in a Criminal Case(A0 245C) will be enter
        after such determination.

        The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each p~ee shall receive an approximately pro nioned ymcnt, unless spes~fiedotherwise
        the prlonly order or percmtage payment columnkclou. Hou,e\er. pursuant to 18 L
        before the [Jnlted States 15 pa~d.
                                                                                                   .SF
                                                                                                 3661E. all nonicderal \.lctlms must be p


 Name of Yasec                                                                                    Restitution Ordered     Priority or Percentas
                                                                                                                                     . .       ,
 . ..   I
        .
           .                                                                                                                               ~       :




TOTALS                                                          0.00            $                       0.00


 [7     Restitution amount ordered pursuant to plea agreement $

        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. $3612(g).

@ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        @ the interest requirement is waived for the           # fme            restitution.
        17 the interest requirement for the             fine           restitution is modified as follows:



* Findings for the total amount of losses are re uired under Chapters 109A, 110,l IOA, and 113A of Title 18 for offenses committed on or aft
September 13, 1994, but before Apnl23, 199%.
                 Case 4:05-cr-40004-SMY                   Document 525 Filed 04/19/06                     Page 6 of 6              Page ID
AO 245B
~~~   ~
               (Rev. 061051 Judmnent in a Criminal Case            #1200
               Sheet 6 ~ched;leof Payments
                                                                                                            J u d g m e n t Page    6   of       9
 DEFENDANT: SEAN L. LOGSDON
 CASE W E R : 4:(WFR40004-JLF-5
                               @A
                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A        @ Lump sum payment of $                                due immediately, balance due

               IJ    not later than                                 ,01
                     in accordance                C,       D,         E, or        F below; 01
 B             Payment to begin immediately (may be combined with             C,          D, or         F below); or

 C             Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                            (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D             Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                            (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
               term of supervision; or

 E             Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F        @ Special inshuctions regarding the payment of criminal monetary penalties:
                While on supelvised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
                of his net monthly income, whichever is greater.




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 unpriso-en,.
 Kespons~b~l~ty
                All crlmlnaYmoncta prnal~~cs,       except those paymcnts made througg
              I'rugrarn, are made t o x e clerk oithc coun.
                                                                                                         ufcr~rmnalrnonetarypenalt~esisduedurin
                                                                                                  IFcntFederal Bureau of I'r~aons' Innlare F ~ n a n c ~


 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed



          Joint and Several

          Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
          and corresponding payee, if appropriate.




          The defendant shall pay the cost of prosecution.

          The defendant shall pay the following coult cost(s):

          The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) f i e interest, (6) community restitution, (7) penalties, and (8) costs, mcluding cost of prosecution and court costs.
